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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


  TREY GREENE, individually and on behalf of Case No.: 2:23-cv-01165
  all others similarly situated,
                                 Plaintiff,
          v.

  ZAC PRINCE, FLORI MARQUEZ, TONY
  LAURA, JENNIFER HILL and GEMINI
  TRADING, LLC,

                                    Defendants.

         DECLARATION OF LEE SQUITIERI IN SUPPORT OF THE MOTION
        PURSUANT TO PSLRA 15 U.S.C. §78u-4(a)(3)(B) FOR APPOINTMENT
     OF LEAD PLAINTIFF AND APPROVAL OF SELECTION OF LEAD COUNSEL

        I, Lee Squitieri, declare as follows:

      1.       I am a member in good standing of the bar of the State of New York and am admitted

to practice before this Court. I am a partner at the law firm of Squitieri & Fearon, LLP. We are

counsel for the Plaintiff. I submit this declaration in support of the motion for appointment as Lead

Plaintiff pursuant to the Private Securities Litigation Reform Act of 1995 (the “PSLRA”), 15 U.S.C.

§ 78u-4(a)(3)(B), and approval of their selection of Squitieri & Fearon, LLP and Moore Kuehn

PLLC as Lead Counsel for the class.

      2.       Movant Pham Duy Anh, Dang (“Dang”) files this motion and joins in the Motion

and the Group as filed by Movants Trey Greene (“Greene”) and Arman Reyes (“Reyes”) (Dang,

Greene and Reyes collectively as the “Group”) in moving for Lead Plaintiff as a group (ECF No.

6). The Group consists of BlockFi BIA investors who relied on Defendants’ false and misleading

statements to promote BIAs, including that BIAs were supposed to be a secure method of collecting

interest.
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      3.        The Group came together through word of mouth after a class action was filed

naming Greene as plaintiff, captioned Trey Greene, Individually and on Behalf of All Others Similarly

Situated v. Zac Prince, et al., Case No. 2:23-cv-01165 in the United States District Court for the

District of New Jersey.

      4.        The Group retained the proposed lead counsel firms after an extensive interview and

due diligence process they each conducted. The Group questioned both proposed co-lead counsel

extensively about the process, their obligations as to lead plaintiff, and the substantive nature of the

claims proposed to be asserted. The Group inquired further and questioned the specific claims

proposed to be asserted. The Group were active and engaged during the proposed lead counsels’

due diligence activities and the process of drafting the specific claims.             The Group has

acknowledged to being part of joint decision making for the Group.

      5.        Attached are true and correct copies of the following exhibits:

                Exhibit A:     PSLRA Notice;

                Exhibit B:     PSLRA Verifications of Movants with Account
                               Statements;

                Exhibit C:     Firm Resume of Squitieri & Fearon, LLP;

                Exhibit D:     Firm Resume of Moore Kuehn PLLC;

                Exhibit E:     Proposed Order

       I declare, under penalty of perjury, that the foregoing is true and correct to the best of my

knowledge.

           Executed this 1st day of May, 2023.

                                                 /s/ Lee Squitieri
                                                 Lee Squitieri




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